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 12
       JOHN DOE 1 and JOHN DOE 2
 13

 14                        UNITED STATES DISTRICT COURT
 15
                          CENTRAL DISTRICT OF CALIFORNIA
 16

 17   JOHN DOE 1, an individual; and JOHN         Case No.: 2:20-cv-05554-RSWL-AGR
 18   DOE 2, an individual,
                                                  PLAINTIFFS’ OPPOSITION TO
 19         Plaintiffs,                           DEFENDANT UNITED AIRLINES,
 20                                               INC.’S MOTION TO DISMISS
                  v.                              PORTIONS OF PLAINTIFFS’
 21                                               FIRST AMENDED COMPLAINT
 22   UNITED AIRLINES, INC., an Illinois
      Corporation; ROE 1, an individual; ROE      Date: August 4, 2020
 23   2, an individual; ROE 3, an individual;     Time: 10:00 a.m.
 24   and ROES 4 through 50, inclusive,           Crtrm: TBD
 25        Defendants.                            Complaint Filed: May 18, 2020
 26                                               FAC Filed: May 20, 2020
 27

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          PLAINTIFFS’ OPPOSITION TO DEFENDANT UNITED AIRLINES, INC.’S MOTION TO DISMISS
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   1         Plaintiffs John Doe 1 and John Doe 2 (collectively, “Plaintiffs”), by and
   2   through their counsel of record, hereby file this Opposition to Defendant United
   3   Airlines, Inc.’s (“Defendant”) Motion to Dismiss Portions of Plaintiffs’ First
   4   Amended Complaint.
   5         This Opposition is based upon the following Memorandum of Points and
   6   Authorities, Request for Judicial Notice, Declaration of Darren D. Darwish, all
   7   papers, pleadings, and records on file herein, and on such other matters as may
   8   properly come before the Court or at the hearing.
   9
 10    Dated: July 14, 2020                  THE DARWISH LAW FIRM, APC
 11
 12
                                            By: /s/ Darren D. Darwish
 13                                             Darren D. Darwish, Esq.
                                                Attorneys for Plaintiffs
 14
                                                JOHN DOE 1 and JOHN DOE 2
 15
 16
       Dated: July 14, 2020                  AZIZIAN LAW, P.C.
 17
 18
 19                                         By: /s/ Benjamin A. Azizian
 20                                             Benjamin A. Azizian, Esq.
                                                Attorneys for Plaintiffs
 21                                             JOHN DOE 1 and JOHN DOE 2
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 23
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   1                 MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.      INTRODUCTION
   3           Defendant seeks to attack the sufficiency of Plaintiffs’ causes of action for
   4   violation of Unruh Act (Civil Code section 51), intentional infliction of emotional
   5   distress, and negligent infliction of emotional distress by way of its Motion to
   6   Dismiss pursuant to Federal Rules of Civil Procedure Rule 12(b)(6).1
   7           Defendant failed to comply with Local Rule 7-3 and did not timely meet and
   8   confer prior to filing its Motion. For this reason, Defendant’s Motion should be
   9   denied outright.
 10            Should this Court, in its discretion, waive the meet and confer requirement,
 11    Defendant’s Motion should be denied as the allegations and causes of action in First
 12    Amended Complaint are sufficiently pled. Plaintiffs’ First Amended Complaint
 13    establishes sufficient facts to state a claim for violation of Unruh Act and intentional
 14    infliction of emotional distress. Consequently, Plaintiffs’ claim and prayer for
 15    punitive damages, treble damages, and attorneys’ fees should not be dismissed as
 16    Plaintiffs allege sufficient facts to support those damages, and the causes of action
 17    on which they are predicated are sufficiently pled. As such, Defendant’s Motion to
 18    Dismiss should be denied in its entirety.
 19            Alternatively, to the extent the Motion to Dismiss is granted, Plaintiffs
 20    request leave to amend.
 21    ///
 22    ///
 23    1
         Counsel for Defendants failed to timely meet and confer pursuant to Local Rule
 24    7-3. In their untimely meet and confer correspondence and telephonic conference,
 25    counsel for Defendants failed to address the issue of the prayer for declaratory and
       injunctive relief, among other things (as further detailed below). (Darwish Decl.,
 26    ¶ 7.) Should this Court, in its discretion, waive the meet and confer requirement,
 27    Plaintiffs, in an effort to promote judicial efficiency, submit only to the arguments
       with respect to the cause of action for negligent infliction of emotional distress
 28    and prayer for declaratory and injunctive relief.
                                                   1
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   1   II.     DEFENDANT FAILED TO TIMELY MEET AND CONFER AND
   2           SATISFY THE REQUIREMENTS OF LOCAL RULE 7-3
   3           Defendant was personally served on May 26, 2020. (Request for Judicial
   4   Notice [“RJN”], Exh. B.) Thus, Defendant’s deadline to file a Notice of Removal
   5   pursuant to 28 U.S.C. §1446(b) was June 25, 2020. Defendant timely filed its
   6   Notice of Removal on June 23, 2020. (RJN, Exh. C.) Federal Rules of Civil
   7   Procedure Rule 8(c)(2) governs the timing of Defendant’s Motion because
   8   Defendant did not file a responsive pleading prior to removal. Pursuant to Federal
   9   Rules of Civil Procedure Rule 8(c)(2), the deadline to file the Motion was June 30,
 10    2020, which is seven (7) days after the Notice of Removal was filed and the longest
 11    out of the proscribed periods under this Rule. Local Rule 7-3 requires a conference
 12    of counsel to take place at least seven (7) days prior to the filing of any motion;
 13    therefore, Defendant was required to meet and confer no later than June 23, 2020
 14    pursuant to Local Rule 7-3.
 15            Unfortunately, Defendant failed to comply with Local Rule 7-3. Defendant’s
 16    initial communication with respect to its Motion was on June 24, 2020 – after the
 17    June 23, 2020 meet and confer deadline had already passed. (Declaration of Darren
 18    Darwish [“Darwish Decl.”], ¶ 2, Exh. A.)
 19            On June 24, 2020, counsel for Defendant e-mailed and attached a letter to
 20    Plaintiffs’ counsel to serve as their meet and confer effort. (Id.) On June 26, 2020,
 21    the parties scheduled a telephonic meet and confer for Tuesday, June 30, 2020 at
 22    1:30 p.m. (Id. at ¶ 3.) The telephonic meet and confer took place on Tuesday, June
 23    30, 2020 at 1:30 p.m. (Id.)
 24            When a party fails to comply with Local Rule 7-3, the court can, in its
 25    discretion, refuse to consider the motion. CarMax Auto Superstores California LLC
 26    v. Hernandez, 94 F. Supp. 3d 1078, 1087–88 (C.D. Cal. 2015) ; see, Singer v. Live
 27    Nation Worldwide, Inc., No. SACV 11–0427 DOC (MLGx), 2012 WL 123146, *2
 28    (C.D.Cal. Jan. 13, 2012) (denying a motion for summary judgment because the
                                                   2
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   1   moving party failed to comply with Local Rule 7–3); Alcatel–Lucent USA, Inc. v.
   2   Dugdale Communications, Inc., No. CV 09–2140 PSG (JCx), 2009 WL 3346784,
   3   *4 (C.D.Cal. Oct. 13, 2009) (“The meet and confer requirements of Local Rule 7-3
   4   are in place for a reason, and counsel is warned that nothing short of strict
   5   compliance with the local rules will be expected in this Court. Thus, the motion is
   6   ... denied for failure to comply with Local Rule 7–3”).
   7            Defendant’s meet and confer was untimely and took place after the June 23,
   8   2020 deadline. (Darwish Decl., ¶ 4.) All meet and confer efforts made by
   9   Defendant’s counsel occurred after the June 23, 2020 deadline. (Id.) The first
 10    discussion regarding the substance of the Motion occurred one week after the June
 11    23, 2020 deadline on June 30, 2020, just hours before the Motion was filed. (Id. at
 12    ¶ 4-5.) Defendant failed to comply with Local Rule 7-3 and, therefore, the Motion
 13    should be denied in its entirety.
 14    III.     LEGAL STANDARD FOR MOTION TO DISMISS AND REQUEST
 15             FOR LEAVE TO AMEND (IF MOTION TO DISMISS IS
 16             GRANTED)
 17             A motion to dismiss under Federal Rules of Civil Procedure Rule 12(b)(6) tests
 18    the legal sufficiency of the claims asserted in the Complaint. The issue on a motion
 19    to dismiss for failure to state a claim is not whether the claimant will ultimately
 20    prevail, but whether the claimant is entitled to offer evidence to support the claims
 21    asserted. Gilligan v. Jamco Dev. Corp., 108 F.3d 246, 249 (9th Cir. 1997). Rule
 22    12(b)(6) is read in conjunction with Rule 8(a), which requires only a short and plain
 23    statement of the claim showing that the pleader is entitled to relief. Fed. R. Civ. P.
 24    8(a)(2). When evaluating a Rule 12(b)(6) motion, the district court must accept all
 25    material allegations in the complaint as true and construe them in the light most
 26    favorable to the non-moving party. Moyo v. Gomez, 32 F.3d 1382, 1384 (9th Cir.
 27    1994).
 28    ///
                                                    3
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   1           When deciding whether to grant a motion to dismiss, the court may consider
   2   material submitted as part of the complaint or relied upon in the complaint, and may
   3   also consider material subject to judicial notice. See Lee v. City of Los Angeles, 250
   4   F.3d 668, 688–89 (9th Cir. 2001). Because of the drastic nature of a motion to dismiss
   5   and the importance of safeguarding a plaintiff’s right to a trial, “to affirm this type of
   6   dismissal, it must appear to a certainty that the plaintiff would not be entitled to relief
   7   under any set of facts that could be proved.” W. Reserve Oil & Gas Co. v. New, 765
   8   F.2d 1428, 1430 (9th Cir. 1985); see also, Halet v. Wend Inv. Co., 672 F.2d 1305,
   9   1309 (9th Cir. 1982).
 10            The court must accept as true all allegations of material fact offered by the non-
 11    moving party and draw all justifiable inferences in the light most favorable to the
 12    non-moving party. See N. Star Int’l v. Arizona Corp. Comm’n, 720 F.2d 578, 580
 13    (9th Cir. 1983). In the event a complaint is deemed deficient, “[i]t is black-letter law
 14    that a district court must give plaintiffs at least one chance to amend… absent a clear
 15    showing that amendment would be futile.” Nat’l Council of La Raza v. Cegavske,
 16    800 F.3d 1032 (9th Cir. 2015); see also Martin v. Tradewinds Beverage Co., No.
 17    CV16-9249 PSG (MRWX), 2017 WL 1712533, at *12 (C.D. Cal. Apr. 27, 2017)
 18    (“The Court… may deny leave to amend if plaintiff has repeatedly failed to cure
 19    deficiencies or if amendment would be futile.”).
 20            If the Court dismisses a claim, it must decide whether to grant leave to amend.
 21    In keeping with this liberal pleading standard, the court should grant the plaintiff
 22    leave to amend if the complaint can possibly be cured by additional factual
 23    allegations. Doe v. United States, 58 F.3d 494, 497 (9th Cir. 1995). The Ninth Circuit
 24    has “repeatedly held that a district court should grant leave to amend even if no
 25    request to amend the pleading was made, unless it determines that the pleading could
 26    not possibly be cured by allegation of other facts.” Lopez v. Smith, 203 F.3d 1122,
 27    1130 (9th Cir.2000) (quotation marks and citations omitted).
 28    ///
                                                   4
             PLAINTIFFS’ OPPOSITION TO DEFENDANT UNITED AIRLINES, INC.’S MOTION TO DISMISS
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   1           In the event that the Court finds Plaintiffs’ allegations insufficient, Plaintiffs
   2   request leave to amend the First Amended Complaint.
   3   IV.     PLAINTIFFS ALLEGE SUFFICIENT FACTS ESTABLISHING A
   4           CLAIM FOR VIOLATION OF THE UNRUH ACT
   5           A.    Plaintiffs Allege The Wrongful And Offending Conduct
   6           Occurred In California
   7           Defendant tenuously argues that the first cause of action for violation of the
   8   Unruh Act should be dismissed as a matter of law because Plaintiffs do not allege
   9   the conduct of which complained occurred in California. To support its argument,
  10   Defendant misapplies the holdings of Sousanis v. Northwest Airlines, Inc. and Keum
  11   v. Virgin America Inc.
  12           Plaintiffs do not dispute that the Unruh Act applies to discrimination that
  13   takes place within the jurisdiction of California. See Cal. Civ. Code §51; Sousanis
  14   v. Northwest Airlines, Inc., No. C-99-2994MHP, 2000 WL 34015861, at *7 (N.D.
  15   Cal. Mar. 3, 2000). Plaintiffs have fulfilled such pleading requirement.
  16           In Sousanis, the court dismissed plaintiff’s claim under the Unruh Act
  17   because the events giving rise occurred outside of California. Id. at *6. The events
  18   giving rise to the action in Sousanis took place on the ground at the Detroit Metro
  19   Airport. Id. at *7. The Sousanis court held that “[s]imply because plaintiff resides
  20   in California, purchased her ticket here, and her flight originated here does not mean
  21   that the California statutes she has sued under apply outside the state. The
  22   Legislature did not contemplate [the Unruh Act] reaching outside of the
  23   jurisdiction...” Id. The actions that took place while the plane was on the ground in
  24   Detroit were not governed by the Unruh Act, regardless if the plane’s ultimate
  25   destination was California. Id.
  26           The court in Keum v. Virgin America Inc., 781 F.Supp.2d 944, 955 (N.D. Cal.
  27   2011) upheld the holding of Sousanis. The Keum court held that plaintiff’s
  28   “complaint did not allege that the events in question took place in California;
                                                   5
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   1   moreover, the fact that the flight was due to terminate in California is insufficient
   2   to bring the entire flight under California’s governance.” Id.
   3         Defendant merely regurgitates the holdings of Sousanis and Keum without
   4   any real analysis of or application to the allegations presented in the First Amended
   5   Complaint.
   6         Here, Plaintiffs allege that the flight originated and was scheduled to depart
   7   Los Angeles. (RJN, Exh. A, ¶¶ 1-2, 40.) The initial wrongful and offending conduct
   8   occurred immediately when Defendant Roe 1 (“Assailant”) took her seat and began
   9   harassing Plaintiff John Doe 1 while the flight was still grounded in Los Angeles.
  10   (Id. at ¶ 46.) In its Motion, Defendant conveniently misstates that the initial
  11   complaint to Defendant by Plaintiff John Doe 2 was made 25 minutes “into their
  12   flight.” (Def. Motion, 12:1-2.) Instead, Plaintiffs allege that approximately 25
  13   minutes after Assailant took her seat, Plaintiff John Doe 2 immediately went to
  14   notify Defendant’s flight attendant, Defendant Roe 2. (RJN, Exh. A, at ¶¶ 47-48.)
  15   The first two events that took place in this action occurred immediately when
  16   Assailant took her seat and approximately 25 minutes thereafter. Based on these
  17   allegations, the parties were still within the jurisdiction of California even 25
  18   minutes after Assailant took her seat. Unlike Sousanis, the wrongful conduct in this
  19   matter initially took place within the jurisdiction of California and not out of state.
  20   This Court is not presented with a factual situation similar to Sousanis or Keum.
  21         B.     Plaintiffs Allege Defendant Acted Intentionally
  22         In order to establish a claim for violation of the Unruh Act, a plaintiff must
  23   prove that (1) defendant denied/aided or incited a denial of/discriminated or made
  24   a distinction that denied full and equal accommodations, advantages, facilities,
  25   privileges, and/or services to plaintiff; (2) that a substantial motivating reason for
  26   defendant’s conduct was its perception of plaintiff’s sex, race, color, religion,
  27   genetic information, or other actionable characteristic; (3) that plaintiff was harmed;
  28   and (4) that defendant’s conduct was a substantial factor in causing plaintiff’s harm.
                                                 6
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   1   See Judicial Council of Cal. Civil Jury Instruction (“CACI”) 3060.
   2           Defendant argues that Plaintiffs’ cause of action for violation of the Unruh
   3   Act fails to allege sufficient facts. Defendants focuses on one word, “unwittingly,”
   4   in an effort to distract this Court from the totality of Plaintiffs sufficiently pled
   5   allegations. The term “unwittingly” modifies “overlooked” in the sentence being
   6   scrutinized by Defendants. Defendant conveniently fails to include the entirety of
   7   the allegation whereby Plaintiffs allege that Defendant “disregarded, ignored, and
   8   took for granted the fact that sexual assaults and harassment can occur to young
   9   African American males.” (RJN, Exh. A, ¶ 66.)
  10           Plaintiffs allege that Defendant denied Plaintiffs “full and equal
  11   accommodations, advantages, facilities, privileges, or services because of their
  12   gender, age, and race, by allowing [Assailant] unfettered ability to sexually abuse
  13   and harass [Plaintiffs] . . . by actively ignoring [Plaintiffs’] complaints . . . .” (Id. at
  14   ¶ 64, emphasis added.) The First Amended Complaint specifically states that
  15   Defendant (and its flight attendants, Defendants Roe 2 and Roe 3) “had actual notice
  16   of [Assailant’s] wrongful conduct and chose to ignore [Plaintiffs’] pleas for help
  17   during the [flight].” (Id., emphasis added.) Further, Plaintiffs allege such wrongful
  18   conduct by Defendant (and its flight attendants, Defendants Roe 2 and Roe 3) was
  19   substantially motivated by Plaintiffs’ gender, age, and race. (Id. at ¶ 66.) The
  20   phrases “actively ignoring” and “chose to ignore” describes Defendant’s (and its
  21   flight attendants, Defendants Roe 2 and Roe 3) specific wrongful conduct and is
  22   synonymous with purposeful, deliberate, and intentional actions and inactions by
  23   Defendants.
  24           Plaintiffs have properly pled sufficient facts to support its claim for violation
  25   of the Unruh Act against Defendant.
  26   ///
  27   ///
  28   ///
                                                    7
             PLAINTIFFS’ OPPOSITION TO DEFENDANT UNITED AIRLINES, INC.’S MOTION TO DISMISS
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   1         C.    Because The Cause Of Action For Violation Of The Unruh Act
   2         Is Sufficiently Pled, Plaintiffs’ Claims For Treble Damages And
   3         Attorneys’ Fees Should Not Be Stricken
   4         As detailed and discussed above, Plaintiffs’ cause of action for violation of
   5   the Unruh Act is sufficiently pled and, therefore, should not be dismissed. Because
   6   the Unruh Act claim satisfies the applicable pleading standards, Plaintiffs are
   7   entitled to pray for statutory damages of at least $4,000, treble damages, and
   8   attorneys’ fees under Civil Code section 52(a).
   9         D.    Defendant Failed To Properly And Thoroughly Meet And
  10         Confer
  11         Notwithstanding the fact that Defendant failed to timely meet and confer prior
  12   to filing its Motion pursuant to Local Rule 7-3, Defendant omitted the issue of
  13   whether Plaintiffs alleged Defendant acted intentionally from its meet and confer
  14   correspondence of June 24, 2020 and during the telephonic meet and confer on
  15   June 30, 2020. (Darwish Decl., ¶ 7.)
  16         Local Rule 7-3 requires that “counsel contemplating the filing of any motion
  17   shall first contact opposing counsel to discuss thoroughly, preferably in person, the
  18   substance of the contemplated motion and any potential resolution.” (Emphasis
  19   added.)
  20         In Defendant’s untimely meet and confer correspondence on June 24, 2020
  21   and during its June 30, 2020 conference, Defendant presented only one argument
  22   as to why the cause of action for violation of the Unruh Act is not properly pled –
  23   the discrimination took place out of California’s jurisdiction. (Darwish Decl., ¶ 7.)
  24   However, in its Motion, Defendant’s lead argument for dismissal of the violation of
  25   Unruh Act cause of action is that Plaintiffs have not alleged Defendant acted
  26   intentionally. (Id.) Defendant further Defendant states in Section II.B.i. of its
  27   Motion that “[f]or this reason alone, the first cause of action should be dismissed.”
  28   (Def. Motion, 10:21-22.)
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   1          The untimely telephonic meet and confer took place at 1:30 p.m. on June 30,
   2   2020, which was the same day as the deadline for Defendant to file its Motion.
   3   (Darwish Decl., ¶¶ 3-4.) Approximately two (2) hours after the untimely telephonic
   4   meet and confer, Defendant filed its Motion at 3:38 p.m. (Id. at ¶ 5.) Undoubtedly
   5   Defendant’s Motion had been researched, prepared, and drafted prior to the June
   6   30, 2020 telephonic meet and confer. Defendant knew its arguments in the Motion
   7   yet failed to thoroughly meet and confer and discuss all issues of its Motion.
   8          Defendant’s did not take the meet and confer process seriously. Local Rule
   9   7-3 was established for counsel to attempt to thoroughly discuss the substance of a
  10   contemplated motion and any potential resolution. Defendant did not do this and,
  11   as a result, wasted the time and resources of this Court. Such gamesmanship has no
  12   place in this Court nor any other court.
  13   V.     PLAINTIFFS SUFFICIENTLY PLED A CAUSE OF ACTION FOR
  14          INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
  15          AGAINST ALL DEFENDANTS
  16          The elements for intentional infliction of emotional distress in California
  17   include: “1) extreme and outrageous conduct by the defendant with the intention
  18   of causing, or reckless disregard of the probability of causing, emotional distress;
  19   2) the plaintiff’s suffering severe or extreme emotional distress; and 3) actual and
  20   proximate causation of the emotional distress by the defendant’s outrageous
  21   conduct.” Dalkilic v. Titan Corp., 516 F.Supp.2d 1177, 1188 (S.D.Cal. 2007)
  22   (emphasis added).
  23          Plaintiffs concur with Defendant that severe emotional distress is not trivial
  24   or transitory. Fletcher v. W. Nat’l Life Ins. Co., 10 Cal.App.3d 376, 397 (1970)
  25   (emphasis added). Plaintiffs even concur that “[s]evere emotional distress means
  26   ‘emotional distress of such substantial quality or enduring quality that no
  27   reasonable [person] in civilized society should be expected to endure it.” Potter
  28   v. Firestone Tire & Rubber Co, 6 Cal.4th 965, 1004 (1993). The true distinction
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   1   between the parties lies in their characterization of the distress Plaintiffs suffered
   2   on United Flight #415.
   3           Defendant provides an inaccurate depiction of the events which occurred
   4   on United Flight #415. Defendant attempts to describe a situation in which
   5   multiple complaints were made in succession to which their personnel
   6   (Defendants Roes 2 and 3) reacted by moving the Assailant to another seat on the
   7   plane. (Def. Motion, 13:16-21.) However, Defendant’s motion fails to bring to
   8   the Court’s attention the background and circumstances prior to Defendants Roes
   9   2 and 3 ultimately taking delayed action by removing the Assailant.
  10           Plaintiffs made three complaints to the appropriate authority figures on the
  11   flight, Defendant Roes 2 and 3, before the Assailant was ultimately moved. (RJN,
  12   Exh. A, ¶¶ 48-50, 52.) These three complaints were in regards to several instances
  13   of harassment and assault; yet, there were two additional instances of harassment
  14   and assault – one which was witnessed by Defendant Roe 3, and the other which
  15   occurred while Plaintiff John Doe 1 was making the third complaint to Defendant
  16   Roe 2. (Id. at ¶¶ 51, 54.)
  17           Defendant’s Motion inaccurately depicts a situation in which two
  18   complaints were made and a warning was given. (Def. Motion, 13:18-19.) This
  19   depiction of events intentionally does not include that the warning was given after
  20   Defendant Roe 3 witnessed what was the third instance of harassment and assault.
  21   (RJN, Exh. A, ¶ 51.) Defendant further indicates that after a third complaint,
  22   Defendant Roe 2 moved the Assailant to a different row and that this “protected
  23   Plaintiffs from any further harassment by Roe 1.” (Def. Motion, 13:19-23.) Once
  24   again, Defendant’s Motion fails to provide important context, specifically, that
  25   there had been a fourth instance of harassment and assault prior to the third
  26   complaint, and that during the time of the third complaint a fifth instance of
  27   harassment and assault occurred. (RJN, Exh. A, ¶¶ 52-54.)
  28   ///
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   1           A.    Plaintiffs’ First Amended Complaint Sufficiently Pleads
   2           Extreme And Outrageous Conduct
   3           Plaintiffs bring the Court’s attention to this course of events to show the
   4   reckless disregard of the probability of causing emotional distress exhibited by
   5   Defendants when Defendant Roe 2 failed to respond to Plaintiff John Doe 2’s
   6   initial complaint allowing a second instance of harassment and assault; when
   7   Defendant Roe 2 failed to respond to Plaintiff John Doe 2’s second complaint
   8   which allowed a third instance of harassment and assault; when Defendant Roe 3
   9   chose to simply provide a verbal warning to Assailant upon witnessing Assailant’s
  10   third instance of harassment and assault targeted at Plaintiff John Doe 1 – for
  11   which Plaintiff John Doe 2 was present and witnessed – ultimately allowing the
  12   final instances of harassment and assault directed at Plaintiffs to occur.
  13           Plaintiffs reiterate these allegations to provide an accurate context for the
  14   actions and inactions of Defendants Roes 2 and 3, which formed the basis of
  15   Plaintiffs’ cause of action for Intentional Infliction of Emotion Distress.
  16   Unfortunately, once again Defendant’s Motion attempts to distract this Court by
  17   focusing on one word (“idly”) and misrepresenting the context in which that term
  18   is used. (Def. Motion, 13:24-25.) Defendant’s Motion ignores the entirety of that
  19   particular paragraph, one of eleven paragraphs, included in Plaintiffs’ cause of
  20   action for Intentional Infliction of Emotional Distress, the first of which re-alleges
  21   and incorporates the prior allegations. Plaintiffs’ First Amended Complaint
  22   alleges that a reasonable person would not expect or tolerate Defendants’ inability
  23   to supervise and stop passengers from committing sexual assaults when provided
  24   with actual notice of said assaults. (RJN, Exh. A, ¶¶ 91-92, 94.) Defendants
  25   ignored these complaints, sat “idly,” and as discussed above, allowed Assailant
  26   to continue her assaults on Plaintiffs which is not something that a reasonable
  27   person would except to occur on a flight. (Id.)
  28   ///
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   1         “Behavior may be considered outrageous if the defendant “‘(1) abuses a
   2   relation or position which gives him power to damage the plaintiff’s interest…or
   3   (3) acts intentionally or unreasonably with the recognition that the acts are likely
   4   to result in illness through mental distress.’” Chaconas v. JP Morgan Chase
   5   Bank, 713 F.Supp.2d 1180, 1187-1188 (2010). In Chaconas, the court indicated
   6   that debt collectors had “been recognized as holding a special position of authority
   7   over debtors which can contribute to the outrageousness of their conduct.” Id. at
   8   1188. Here, Defendant held a similar position of authority over Plaintiffs and their
   9   fellow passengers. Thus, the conduct of Defendants Roes 2 and 3 must be taken
  10   in consideration with their position of authority over Plaintiffs and the Assailant.
  11   (RJN, Exh. A, ¶¶ 32-39, 93-94)
  12         Given the prevalent nature of sexual assaults on aircraft (Id. at ¶¶ 21-31)
  13   and Defendant’s duty to protect its passengers and authoritative role on the
  14   aircraft (Id. at ¶¶ 32-39, 93-94), it is evident Defendant Roe 3’s “warning” after
  15   several instances of harassment and assault was extreme and outrageous when
  16   coupled with Defendant Roe 2’s repeated inactions to address the multiple
  17   complaints received. Defendants Roes 2 and 3’s conduct occurred with a clear
  18   reckless disregard of the probability of causing Plaintiffs’ emotional distress at
  19   the hands of the Assailant. Given the standard applied to a motion to dismiss,
  20   these assertions taken as true clearly satisfy outrageous and extreme conduct
  21   which recklessly disregarded of the probability of causing emotional distress.
  22   These allegations together with Defendants Roe 2 and 3’s conduct should be
  23   construed as to exceed all bounds of that usually tolerated in a civilized
  24   community. Those in a position of authority should be expected to protect those
  25   under their charge. What is more, Defendant is a common carrier and owes an
  26   even greater duty to Plaintiffs. Conduct which allows for continued verbal,
  27   physical, and sexual harassment and assault of those under one’s care is extreme
  28   and outrageous.
                                                12
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   1         B.     Plaintiffs Pled Sufficient Facts Supporting Their Claim For
   2         Emotional Distress
   3         Defendant’s Motion diminishes and reduces the type and extent of
   4   emotional distress Plaintiffs’ suffered. Defendant’s Motion simply asserts that
   5   such pleading is insufficient without much analysis, and once again simply cites
   6   Lawler vs. Montblanc North America, LLC, 704 F.3d 1235 (2013) and misapplies
   7   the holding to a matter that is substantively different. In Lawler, the court dealt
   8   with a summary judgment order involving emotional distress resulting from
   9   wrongful termination. The standard for what is sufficient for a motion for
  10   summary judgment and what is sufficient at the pleading stage are very different,
  11   i.e. there is testimony and evidence presented in support of a summary judgement
  12   which had already been obtained through discovery. This must be taken into
  13   consideration when analyzing and determine the applicability and what level of
  14   authority of Lawler has to the current matter. Pursuant to Federal Rules of Civil
  15   Procedure Rule 8(a), Plaintiffs have provided a “short and plain statement” of
  16   Plaintiffs’ emotional distress as pled in Paragraphs 96 and 98 of the First
  17   Amended Complaint.
  18         C.     Plaintiffs Have Pled Facts Sufficient To Support A Claim For
  19         Punitive Damages Against Defendant
  20         Defendant argues Plaintiffs’ claim for punitive damages should be dismissed
  21   because Plaintiffs have not alleged sufficient facts. Defendant is wrong and
  22   misapplies the law.
  23         Under California law, a court may award punitive damages when a defendant
  24   “has been [found] guilty of oppression, fraud, or malice.” Cal. Civ. Code §3294.
  25   California courts have required plaintiffs seeking punitive damages to allege
  26   specific evidentiary facts to support allegations of malice, oppression, or fraudulent
  27   intent. See, e.g., Smith v. Superior Court, 10 Cal. App.4th 1033 (1992); G.D. Searle
  28   & Co. v. Superior Court, 49 Cal. App. 3d 22 (1975).
                                                 13
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   1           However, Federal Rules of Civil Procedure Rule 9(b) provides, “Malice,
   2   intent, knowledge, and other condition of mind of a person may be averred
   3   generally.” Although Defendant properly cites that Cal. Civ. Code §3294 provides
   4   the governing substantive law for punitive damages, the Federal Rules of Civil
   5   Procedure govern the Court’s determination regarding the adequacy of the
   6   pleadings. Clark v. Allstate Ins. Co., 106 F.Supp.2d 1016, 1018 (S.D. Cal. 2000).
   7   Therefore, a plaintiff’s prayer for relief may rest on unsupported and conclusory
   8   averments of malice or fraudulent intent. Id. at 1019; See also Clark v. State Farm
   9   Mutual Automobile Ins. Co., 231 F.R.D. 405 (C.D. Cal. 2005) (holding that bare
  10   allegations of oppression, fraud or malice were sufficient and denying motion to
  11   strike punitive damage allegations). Thus, “in federal court, a plaintiff may include
  12   a ‘short and plain’ prayer for punitive damages that relies entirely on unsupported
  13   and conclusory averments of malice and fraudulent intent.” Clark v. Allstate, at
  14   1019.
  15           Plaintiffs allege that Defendants (the cause of action is as to all relevant
  16   Defendants) “acted willfully and maliciously with the intent to harm Plaintiffs, and
  17   in conscious disregard of Plaintiffs’ rights, so as to constitute malice and oppression
  18   under Civil Code section 3294.” (RJN, Exh. A, ¶ 99.) The First Amended
  19   Complaint complies with Federal Rules of Civil Procedure Rules 8 and 9 because
  20   it clearly requests punitive damages and makes assertions of intentional and
  21   malicious conduct on the part of Defendant. Whether Defendant’s actions actually
  22   rise to the level of morally culpable conduct justifying punitive damages is not for
  23   the Court to resolve in a Motion to Dismiss.
  24           D.    Defendant Failed To Timely And Sufficiently Meet And Confer
  25           As To Plaintiffs’ Fifth Cause Of Action
  26           Defendant’s untimely meet and confers failed to specifically address the
  27   issues with Plaintiffs’ cause of action for Intentional Infliction of Emotion
  28   Distress, which were raised in Defendant’s Motion, and thus failed to meet the
                                                  14
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   1   requirements and purpose of Local Rule 7-3. (Darwish Decl., ¶ 7.) As reflected
   2   in the June 24, 2020 meet and confer letter, Defendant used cursory language to
   3   indicate that Plaintiffs’ fifth cause of action was insufficiently pled. (Id. at ¶ 2,
   4   Exh. A.) No details as to the particular shortcoming or insufficiency were
   5   provided to Plaintiffs, only simple conclusory statements referencing the first two
   6   elements of the particular cause of action. (Id.)
   7   VI.     CONCLUSION
   8           Based on the foregoing, Defendant failed to comply with Local Rule 7-3 and
   9   did not timely meet and confer prior to filing its Motion. For this reason alone,
  10   Defendant’s Motion should be denied outright.
  11           Should this Court consider Defendant’s Motion and waive the meet and
  12   confer requirement, Defendant’s Motion should be denied as the allegations and
  13   causes of action in First Amended Complaint are sufficiently pled. Plaintiffs
  14   establish sufficient facts to state a claim for violation of Unruh Act and Intentional
  15   Infliction of Emotional Distress. Thus, Plaintiffs’ claim and prayer for punitive
  16   damages, treble damages, and attorneys’ fees should not be dismissed as Plaintiffs
  17   allege sufficient facts to support those damages, and the causes of action on which
  18   they are predicated are sufficiently pled. As such, Defendant’s Motion to Dismiss
  19   should be denied in its entirety.
  20   ///
  21   ///
  22   ///
  23   ///
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   1         Alternatively, to the extent the Motion to Dismiss is granted, Plaintiffs
   2   respectfully request leave to amend.
   3
   4   Dated: July 14, 2020                    THE DARWISH LAW FIRM, APC
   5
   6
                                              By: /s/ Darren D. Darwish
   7                                              Darren D. Darwish, Esq.
                                                  Attorneys for Plaintiffs
   8
                                                  JOHN DOE 1 and JOHN DOE 2
   9
  10
       Dated: July 14, 2020                    AZIZIAN LAW, P.C.
  11
  12
  13                                          By: /s/ Benjamin A. Azizian
  14                                              Benjamin A. Azizian, Esq.
                                                  Attorneys for Plaintiffs
  15                                              JOHN DOE 1 and JOHN DOE 2
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